           Case 3:13-cr-03268-MMA                        Document 77                Filed 12/10/13              PageID.238                     Page 1 of 2

      ~AO 245B (CASD) (Rev. 1112)    Judgment in a Criminal Case
                Sheet I                                                                                                                  .•"    1
                                                                                                                             : ,;    ;          t_ <'
                                                                                                                           ilL? n.
                                                                                                                               ,"

                     UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                         v.                                         (For Offenses Committed On or After November 1,~y

                       FABIAN TELLEZ-MARTINEZ,                                      Case Number: 13CR3268-MMA
                                                                                     Joseph M. McMullen
                                                                                    Defendant's Attorney
     REGISTRATION NO. 45069298

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s) ONE OF THE INFORMAnON
      o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged gUilty of such count(s), which involve the following offense(s):
                                                                                                                                                     Couot
     Title & Section                          Nature of Offense                                                                                     Number(s)
8: I 324(a)(l)(A)(i) and               Bringing in Illegal Aliens; Aiding and Abetting                                                              1
(v)(II);18:2




         The defendant is sentenced as provided in pages 2 through     _2_ _ ofthis judgment. The sentence is imposed pursuant
  to the Sentencing Reform Act of 1984.
  o    The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  o Count(s)                                                                          is   0    areD dismissed on the motion of the United States.
  181 Assessment: $100.00 Waived

  181 Fine waived                                    o    Forfeiture pursuant to order filed                                    , included herein.
        IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
  defendant shall notifY the court and United States Attorney of any material chang~efendant's economic circumstances.




                                                                               UNITED STATES DISTRICT JUDGE


                                                                                                                                                        13CR3268-MMA
     Case 3:13-cr-03268-MMA                       Document 77       Filed 12/10/13           PageID.239          Page 2 of 2

AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                              Judgment - Page    2    of        2
 DEFENDANT: FABIAN TELLEZ-MARTINEZ,
 CASE NUMBER: 13CR3268-MMA
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         EIGHT (08) MONTHS



    o Sentence imposed pursuant to Title USC Section
                                                 8          1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:

    o The defendant is remanded to the custody ofthe United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.       on
               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before ------------------------------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN

 I have executed this judgment as follows:

         Defendant delivered on      _ _ _ _ _ _ _ _ _ _ _ _ _ _ to

 at _______________________ , with a certified copy of this judgment.


                                                                                            UNITED STATES MARSHAL

                                                                   By
                                                                        ------------D~E~P~UTY~~UNITE~~D-S~T~A~TE~S~MAR~~SHAL~-----------




                                                                                                                     13CR3268-MMA
